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           EXHIBIT K
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Laurie E. Morrison, Esq.

From:                Warshaw, Aaron <Aaron.Warshaw@ogletree.com>
Sent:                Wednesday, February 14, 2018 9:13 AM
To:                  'Laurie E. Morrison, Esq.'
Subject:             RE: URGENT: Dfs’ Still Outstanding Docs & Need Confirm re Mosses & Ghobrial


Laurie, 
 
Noted that we will be ending at 4:30pm today. Mr. Allen is available to begin at 10am and Mr. Hennessey starting at 
12:30pm.  
 
Ms. Ghobrial is not available on Friday due to her childcare and work commitments (as you may recall, she no longer 
works for Walgreens/Duane Reade). She is available on Thursday afternoon as proposed, or next Thursday 2/22. As I 
indicated last night, we are contacting Mr. Moss today to determine his availability, including this Friday as you have 
proposed. As soon as I have more information, I will let you know. 
 
Based upon our due diligence, Defendants have produced all documents that Ms. Ghobrial relied upon in deciding to 
terminate Plaintiff’s deposition. Last night I identified the training “Modules” in Defendants’ production. Although I am 
not testifying, I understand that Ms. Ghobrial specifically relied upon the “Step 5” portion of the training. 
 
Based upon our due diligence, Defendants have produced all documents relied upon to terminate Mr. Spears’ 
employment. 
 
Please refer to my responses regarding the Martin and Jacob cases below. 
 
I will see you shortly. 
 
Aaron 
 

Aaron Warshaw | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
1745 Broadway, 22nd Floor | New York, NY 10019 | Telephone: 212-492-2509 | Fax: 212-492-2501
aaron.warshaw@ogletree.com | www.ogletree.com | Bio

 
From: Laurie E. Morrison, Esq. [mailto:morrison@lemorrisonlaw.com]
Sent: Wednesday, February 14, 2018 8:45 AM
To: Warshaw, Aaron
Cc: Laurie E. Morrison, Esq.
Subject: URGENT: Dfs’ Still Outstanding Docs & Need Confirm re Mosses & Ghobrial

Hi Aaron,

Please confirm by 10am today that I am deposing Moss and Ghobrial this Friday, Feb. 16th. Ghobrial can go
first due to her childcare concerns. I need to schedule with the Court Reporter in advance.

Cancelled Depos for Thursday (Feb. 15th), since you cannot attend before 2pm.

Again, Please Confirm that, as of Feb. 14th at 8:30am, Defendants have already produced any and all
information that Ghobrial relied on when she fired Plaintiff. This includes, but is not limited to, each and every:
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module; employee handbook document/info; information re Spears and/or other staff members; medical/health
info; robbery info; price modification info; audio/video recording; witness statement; “voluntary statement”;
investigative document; emails and attachments; etc..

Please confirm that, as if Feb. 14th at 8:30am, Defendants have already produced all information that was
provided to Ghobrial in connection with disciplining Plaintiff in any way, including, but not limited to,
documents provided in connection with Ghobrial deciding to fire Plaintiff. This includes, but is not limited to,
each and every: module; employee handbook document/info; information re Spears and/or other staff members;
medical/health info; robbery info; price modification info; audio/video recording; witness statement; “voluntary
statement”; investigative document; emails and attachments; etc..

Please confirm that, as if Feb. 14th at 8:30am, Defendants have already produced all information that
Defendants relied upon to discipline Plaintiff in any way, including, but not limited to, documents relied on in
connection with suspending and/or firing Plaintiff. This includes, but is not limited to, each and every: module;
employee handbook document/info; information re Spears and/or other staff members; medical/health info;
robbery info; price modification info; audio/video recording; witness statement; “voluntary statement”;
investigative document; emails and attachments; etc..

Please confirm that, as if Feb. 14th at 8:30am, Defendants have already produced all information that
Defendants relied in connection with disciplining Spears and the other staff members in connection with alleged
price modification, including, but not limited to, documents relied on in connection with firing staff members
and relied on in connection with NOT firing staff members (I.e., info Defendants relied on in determining that
one of the staff members was not involved and/or should not be disciplined). This includes, but is not limited to,
each and every: module; employee handbook document/info; information re Spears and/or other staff members;
medical/health info; robbery info; price modification info; audio/video recording; witness statement; “voluntary
statement”; investigative document; emails and attachments; etc..

Please also let me know when I will receive the info re the Martin v. Walgreen case and the other cases. As
previously discussed, I Need all info before deposing today’s witnesses.

Thanks,
Laurie

Laurie E. Morrison, Esq.
Attorney & Counselor At Law
Employment Labor Civil Rights
New York Office:
100 Church Street, Suite #801
New York City, New York 10007
New Jersey Office:
28 Valley Road, Suite #1
Montclair, New Jersey 07042
(212) 721-4051 (office)
(646) 457-8347 (cell)
(646) 651-4821 (fax)
Morrison@lemorrisonlaw.com

Sent from iPhone

_____________________________
From: Laurie E. Morrison, Esq. <morrison@lemorrisonlaw.com>
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